  Case 5:08-cv-01249-GW-JC Document 62 Filed 05/05/10 Page 1 of 1 Page ID #:1683


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          EDCV 08-1249-GW(JCx)                                          Date      May 5, 2010
 Title             Marcelo Cunha v. Hansen Natural Corporation, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            None Present
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None Present                                          None Present
 PROCEEDINGS (IN CHAMBERS):                         TRANSFER OF CASE TO JUDGE WU


This action has been reassigned to the HONORABLE GEORGE H. WU, United States District Judge.
The magistrate judge’s initials remain the same.

Please substitute the initials GW in place of the initials DGT. The case number will now read:
EDCV 08-1249-GW(JC x). As documents are routed using the judge’s initials, it is important to use
the correct initials on all subsequent filings. Judge Wu’s Courtroom Deputy Clerk, Javier Gonzalez, can
be reached at (213)894-0191 or at javier_gonzalez@cacd.uscourts.gov.

Judge Wu is located in Courtroom 10, on the Spring Street level of the United States Courthouse at 312
N. Spring Street. Additional information about Judge Wu’s procedures and schedule can be found on the
Court’ s website at www.cacd.uscourts.gov.

Counsel are hereby notified, that Defendants’ Motion to Dismiss the Consolidated Class Action
Complaint, filed on November 16, 2009, is set for hearing on July 12, 2010 at 8:30 a.m.




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                                                               Initials of Preparer   JG
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                   Page 1 of 1
